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                           IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG “DEEPWATER          *        MDL NO . 2179
HORIZON ” IN THE GULF OF MEXICO , ON
APRIL 20, 2010                                      *        SECTION “J”

                                                    *        HONORABLE CARL J. BARBIER

                                                    *        MAGISTRATE JUDGE SHUSHAN

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                           MOTION FOR ORAL ARGUMENT
       NOW COMES, Jon Andry, who moves this Court that his Request for Status Conference

to Establish Procedures for Adjudication of Charges should be handled at oral argument.

       WHEREFORE, Jon Andry prays that the Court grant this request for oral argument.

                                             By Attorneys:

                                             /s/Lewis O. Unglesby
                                             _________________________________________
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                                CERTIFICATE OF SERVICE

        I hereby certify that on 12th day of November, 2013, a copy of the foregoing Motion was
filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will
be sent to all counsel of record by operation of the court’s electronic filing system.


                                   /s/Lewis O. Unglesby
                       _________________________________________
                                  LEWIS O. UNGLESBY
